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  11                IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12                         SOUTHERN DIVISION
  13   MASIMO CORPORATION, a                  ) Case No. 8:20-cv-00048-JVS-JDE
       Delaware corporation; and              )
  14   CERCACOR LABORATORIES,                 ) [PROPOSED] ORDER
       INC., a Delaware corporation           ) PRECLUDING DEFENDANT
  15                                          ) FROM DISCLOSING PLAINTIFFS’
                   Plaintiffs,                ) CONFIDENTIAL MATERIALS TO
  16                                          ) DR. PATRICK MERCIER
             v.                               )
  17                                          )
       APPLE INC., a California corporation   ) Discovery Cutoff: 7/15/2024
  18                                          ) Pre-Trial Conf.:   10/28/2024
                   Defendant.                 ) Trial:             11/05/2024
  19                                          )
                                              ) Judge: Judge James V. Selna
  20                                          ) Mag. Judge John D. Early
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   1         The Court, having considered Plaintiffs Masimo Corporation and Cercacor
   2   Laboratories, Inc.’s Motion for a Protective Order Precluding Defendant Apple
   3   Inc. From Disclosing Plaintiffs’ Confidential Materials To Dr. Patrick Mercier,
   4   and finding good cause therefor, grants the Motion.
   5         IT IS HEREBY ORDERED THAT Apple is precluded from disclosing
   6   Plaintiffs’ Confidential Materials to Dr. Patrick Mercier. See Dkt. 67.
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   9   Dated: ______________________
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                                              The Hon. James V. Selna
                                              United States District Court Judge
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